         Case 20-02662-7                   Filed 05/27/20             Entered 05/27/20 01:16:59                       Doc 1-2     Pg. 1 of 14




Fill in this information to identify the case:

              California International Business University
'HEWRUQDPH BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH Southern                            CA
                                         BBBBBBBBBBBBBBBBBBBBBB'LVWULFWRIBBBBBBBBB
                                                                              6WDWH
&DVHQXPEHU ,INQRZQ  BBBBBBBBBBBBBBBBBBBBBBBBB



                                                                                                                                     &KHFNLIWKLVLVDQ
                                                                                                                                        DPHQGHGILOLQJ


2IILFLDO)RUP
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  /1

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:         Income



  Gross revenue from business

        1RQH

            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                  Gross revenue
            may be a calendar year                                                            &KHFNDOOWKDWDSSO\                EHIRUHGHGXFWLRQVDQG
                                                                                                                                  H[FOXVLRQV

           From the beginning of the                                                           ✔ 2SHUDWLQJD EXVLQHVV
                                                                                               
           fiscal year to filing date:   )URP01/01/2020
                                                BBBBBBBBBBB WR          )LOLQJGDWH          2WKHUBBBBBBBBBBBBBBBBBBBBBBB         291,009.00
                                                                                                                                   BBBBBBBBBBBBBBBB
                                                  00''<<<<


           For prior year:                      01/01/2019 WR
                                           )URP BBBBBBBBBBB               12/31/2019
                                                                           BBBBBBBBBBB        ✔ 2SHUDWLQJD EXVLQHVV
                                                                                                                                      575,128.00
                                                                                                                                   BBBBBBBBBBBBBBBB
                                                  00''<<<<           00''<<<<
                                                                                                2WKHUBBBBBBBBBBBBBBBBBBBBBBB
           For the year before that:            01/01/2018 WR
                                           )URP BBBBBBBBBBB               12/31/2019
                                                                           BBBBBBBBBBB        ✔ 2SHUDWLQJD EXVLQHVV
                                                                                               
                                                                                                                                        960,241.00
                                                                                                                                   BBBBBBBBBBBBBBBB
                                                  00''<<<<           00''<<<<
                                                                                                2WKHUBBBBBBBBBBBBBBBBBBBBBBB


  Non-business revenue
     ,QFOXGHUHYHQXHUHJDUGOHVVRIZKHWKHUWKDWUHYHQXHLVWD[DEOHNon-businessincomePD\LQFOXGHLQWHUHVWGLYLGHQGVPRQH\FROOHFWHG
     IURPODZVXLWVDQGUR\DOWLHV/LVWHDFKVRXUFHDQGWKHJURVVUHYHQXHIRUHDFKVHSDUDWHO\'RQRWLQFOXGHUHYHQXHOLVWHGLQOLQH

     ✔ 1RQH
     

                                                                                              Description of sources of revenue   Gross revenue from each
                                                                                                                                  source
                                                                                                                                   EHIRUHGHGXFWLRQVDQG
                                                                                                                                  H[FOXVLRQV

           From the beginning of the
                                                                                              BBBBBBBBBBBBBBBBBBBBBBBBBBB        BBBBBBBBBBBBBBBB
           fiscal year to filing date: )URP BBBBBBBBBBB WR             )LOLQJGDWH
                                                  00''<<<<



           For prior year:                )URP BBBBBBBBBBB WR          BBBBBBBBBBB
                                                  00''<<<<            00''<<<<   BBBBBBBBBBBBBBBBBBBBBBBBBBB        BBBBBBBBBBBBBBBB




           For the year before that:      )URP BBBBBBBBBBB WR          BBBBBBBBBBB
                                                  00''<<<<            00''<<<<   BBBBBBBBBBBBBBBBBBBBBBBBBBB        BBBBBBBBBBBBBBBB




2IILFLDO)RUP                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            SDJH 1
            Case 20-02662-7                  Filed 05/27/20           Entered 05/27/20 01:16:59                    Doc 1-2           Pg. 2 of 14




'HEWRU          California International Business University
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                 1DPH




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
     /LVWSD\PHQWVRUWUDQVIHUVLQFOXGLQJH[SHQVHUHLPEXUVHPHQWVWRDQ\FUHGLWRURWKHUWKDQUHJXODUHPSOR\HHFRPSHQVDWLRQZLWKLQ
     GD\VEHIRUHILOLQJWKLVFDVHXQOHVVWKHDJJUHJDWHYDOXHRIDOOSURSHUW\WUDQVIHUUHGWRWKDWFUHGLWRULVOHVVWKDQ 7KLVDPRXQWPD\EH
     DGMXVWHGRQDQGHYHU\\HDUVDIWHUWKDWZLWKUHVSHFWWRFDVHVILOHGRQRUDIWHUWKHGDWHRIDGMXVWPHQW

           1RQH

             Creditor’s name and address                          Dates        Total amount or value         Reasons for payment or transfer
                                                                                                             Check all that apply
     
             Five 50 Partners, LLC
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB        Feb/Apr'20
                                                                 BBBBBBBB            87,722.40 
                                                                                BBBBBBBBBBBBBBBBB                6HFXUHGGHEW
             &UHGLWRU¶VQDPH
                                                                                                                  8QVHFXUHGORDQUHSD\PHQWV
              550 West B Street, Suite 310
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
             6WUHHW                                             BBBBBBBB                                       6XSSOLHUVRUYHQGRUV
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                          6HUYLFHV
              San Diego,                CA 92101
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                     ✔
             &LW\                         6WDWH    =,3 &RGH
                                                                 BBBBBBBB                                               rent, parking, office lease
                                                                                                                   2WKHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
               
     

             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB         BBBBBBBB      BBBBBBBBBBBBBBBBB               6HFXUHGGHEW
             &UHGLWRU¶VQDPH
                                                                                                                  8QVHFXUHGORDQUHSD\PHQWV
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
             6WUHHW                                             BBBBBBBB                                       6XSSOLHUVRUYHQGRUV
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                          6HUYLFHV
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
             &LW\                         6WDWH    =,3 &RGH
                                                                 BBBBBBBB                                        2WKHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


  Payments or other transfers of property made within 1 year before filing this case that benefited any insider
     /LVWSD\PHQWVRUWUDQVIHUVLQFOXGLQJH[SHQVHUHLPEXUVHPHQWVPDGHZLWKLQ\HDUEHIRUHILOLQJWKLVFDVHRQGHEWVRZHGWRDQLQVLGHURU
     JXDUDQWHHGRUFRVLJQHGE\DQLQVLGHUXQOHVVWKHDJJUHJDWHYDOXHRIDOOSURSHUW\WUDQVIHUUHGWRRUIRUWKHEHQHILWRIWKHLQVLGHULVOHVVWKDQ
      7KLVDPRXQWPD\EHDGMXVWHGRQDQGHYHU\\HDUVDIWHUWKDWZLWKUHVSHFWWRFDVHVILOHGRQRUDIWHUWKHGDWHRIDGMXVWPHQW 
     'RQRWLQFOXGHDQ\SD\PHQWVOLVWHGLQOLQHInsidersLQFOXGHRIILFHUVGLUHFWRUVDQGDQ\RQHLQFRQWURORIDFRUSRUDWHGHEWRUDQGWKHLUUHODWLYHV
     JHQHUDOSDUWQHUVRIDSDUWQHUVKLSGHEWRUDQGWKHLUUHODWLYHVDIILOLDWHVRIWKHGHEWRUDQGLQVLGHUVRIVXFKDIILOLDWHVDQGDQ\PDQDJLQJDJHQWRI
     WKHGHEWRU86&  

           1RQH

             Insider’s name and address                           Dates        Total amount or value         Reasons for payment or transfer
     
             Niels Brock Copenhagen Business                    2019-2020                                   Partial payment of debt (balance
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB        BBBBBBBBB             8,619.82 
                                                                               BBBBBBBBBBBBBBBBBB         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
             ,QVLGHU¶VQDPH
             College, Noerre Voldgade 34, DK-
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB        BBBBBBBBB
                                                                                                            $202,780)
                                                                                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
             6WUHHW
             1358 Copenhagen K, Denmark
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB        BBBBBBBBB                                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
             &LW\                         6WDWH    =,3 &RGH


             Relationship to debtor
             Member, international collaboration.
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


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             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB        BBBBBBBBB     BBBBBBBBBBBBBBBBBB        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
             ,QVLGHU¶VQDPH
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB        BBBBBBBBB                                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
             6WUHHW
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB        BBBBBBBBB                                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
             &LW\                         6WDWH    =,3 &RGH



             Relationship to debtor

             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB



2IILFLDO)RUP                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           SDJH 2
               Case 20-02662-7                  Filed 05/27/20                 Entered 05/27/20 01:16:59                       Doc 1-2            Pg. 3 of 14




'HEWRU               California International Business University
                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                              &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                      1DPH




 5. Repossessions, foreclosures, and returns
       /LVWDOOSURSHUW\RIWKHGHEWRUWKDWZDVREWDLQHGE\DFUHGLWRUZLWKLQ\HDUEHIRUHILOLQJWKLVFDVHLQFOXGLQJSURSHUW\UHSRVVHVVHGE\DFUHGLWRU
       VROGDWDIRUHFORVXUHVDOHWUDQVIHUUHGE\DGHHGLQOLHXRIIRUHFORVXUHRUUHWXUQHGWRWKHVHOOHU'RQRWLQFOXGHSURSHUW\OLVWHGLQOLQH
       ✔ 1RQH
       
               Creditor’s name and address                             Description of the property                                      Date               Value of property
       

               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                     BBBBBBBBBBBBBB    BBBBBBBBBBB
               &UHGLWRU¶VQDPH
               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
               6WUHHW                                                                                                                  
               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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               &UHGLWRU¶VQDPH
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               6WUHHW
               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                                              
               &LW\                         6WDWH       =,3&RGH


 6. Setoffs
       /LVWDQ\FUHGLWRULQFOXGLQJDEDQNRUILQDQFLDOLQVWLWXWLRQWKDWZLWKLQGD\VEHIRUHILOLQJWKLVFDVHVHWRIIRURWKHUZLVHWRRNDQ\WKLQJIURPDQDFFRXQWRI
       WKHGHEWRUZLWKRXWSHUPLVVLRQRUUHIXVHGWRPDNHDSD\PHQWDWWKHGHEWRU¶VGLUHFWLRQIURPDQDFFRXQWRIWKHGHEWRUEHFDXVHWKHGHEWRURZHGDGHEW
       ✔ 1RQH
       
                Creditor’s name and address                               Description of the action creditor took                       Date action was         Amount
                                                                                                                                        taken
       
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                BBBBBBBBBBBBBBB       BBBBBBBBBBB
                &UHGLWRU¶VQDPH
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                6WUHHW                                                                                                                                    
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             /DVWGLJLWVRIDFFRXQWQXPEHU;;;;±BBBBBBBB
                &LW\                         6WDWH       =,3&RGH


     Part 3:           Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
       /LVWWKHOHJDODFWLRQVSURFHHGLQJVLQYHVWLJDWLRQVDUELWUDWLRQVPHGLDWLRQVDQGDXGLWVE\IHGHUDORUVWDWHDJHQFLHVLQZKLFKWKHGHEWRU
       ZDVLQYROYHGLQDQ\FDSDFLW\²ZLWKLQ\HDUEHIRUHILOLQJWKLVFDVH

      ✔
        1RQH
                Case title                                    Nature of case                          Court or agency’s name and address                    Status of case     
       
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             3HQGLQJ
                                                                                                     1DPH
                                                                                                                                                             2QDSSHDO
                                                                                                     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                Case number                                                                          6WUHHW                                                 &RQFOXGHG
                                                                                                     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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                                                                                                     &LW\                 6WDWH               =,3&RGH
                

                Case title                                                                             Court or agency’s name and address
                                                                                                                                                             3HQGLQJ
       
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             2QDSSHDO
                                                                                                     1DPH
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                Case number
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2IILFLDO)RUP                                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    SDJH3
                 Case 20-02662-7                  Filed 05/27/20              Entered 05/27/20 01:16:59                            Doc 1-2       Pg. 4 of 14




'HEWRU                  California International Business University
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                        1DPH




 8. Assignments and receivership
         /LVWDQ\SURSHUW\LQWKHKDQGVRIDQDVVLJQHHIRUWKHEHQHILWRIFUHGLWRUVGXULQJWKHGD\VEHIRUHILOLQJWKLVFDVHDQGDQ\SURSHUW\LQWKH
         KDQGVRIDUHFHLYHUFXVWRGLDQRURWKHUFRXUWDSSRLQWHGRIILFHUZLWKLQ\HDUEHIRUHILOLQJWKLVFDVH
        ✔ 1RQH
         
                   Custodian’s name and address                           Description of the property                        Value

                   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBBBBBBB
                  &XVWRGLDQ¶VQDPH
                                                                          Case title                                         Court name and address
                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                  6WUHHW
                                                                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                              1DPH
                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             Case number                                      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                  &LW\                         6WDWH       =,3&RGH                                                      6WUHHW
                                                                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                          Date of order or assignment                      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                                           &LW\                6WDWH                =,3&RGH

                                                                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

 Part 4:                 Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
         of the gifts to that recipient is less than $1,000
        ✔ 1RQH
         
                  Recipient’s name and address                            Description of the gifts or contributions                   Dates given             Value


                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                _________________       BBBBBBBBBB
         
                 5HFLSLHQW¶VQDPH
                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 6WUHHW
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                   Recipient’s relationship to debtor
     
                   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                   


                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                _________________       BBBBBBBBBB
          5HFLSLHQW¶VQDPH

                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 6WUHHW                                                                                                                                 
                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 &LW\                         6WDWH       =,3&RGH

                   Recipient’s relationship to debtor
                   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
 


 Part 5:                 Certain Losses

  All losses from fire, theft, or other casualty within 1 year before filing this case. 

        ✔ 1RQH
         
                  Description of the property lost and how the loss       Amount of payments received for the loss                   Date of loss        Value of property
                  occurred                                               ,I\RXKDYHUHFHLYHGSD\PHQWVWRFRYHUWKHORVVIRU                           lost
                                                                          H[DPSOHIURPLQVXUDQFHJRYHUQPHQWFRPSHQVDWLRQRU
                                                                          WRUWOLDELOLW\OLVWWKHWRWDOUHFHLYHG
                                                                          /LVWXQSDLGFODLPVRQ2IILFLDO)RUP$% Schedule A/B:
                                                                          Assets – Real and Personal Property).

                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                _________________       BBBBBBBBBB
                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                                                           
                  
2IILFLDO)RUP                                      Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                SDJH4
              Case 20-02662-7              Filed 05/27/20            Entered 05/27/20 01:16:59                        Doc 1-2         Pg. 5 of 14




'HEWRU          California International Business University
                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                          &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 1DPH




 Part 6:         Certain Payments or Transfers

 11. Payments related to bankruptcy
       /LVWDQ\SD\PHQWVRIPRQH\RURWKHUWUDQVIHUVRISURSHUW\PDGHE\WKHGHEWRURUSHUVRQDFWLQJRQEHKDOIRIWKHGHEWRUZLWKLQ\HDUEHIRUH
       WKHILOLQJRIWKLVFDVHWRDQRWKHUSHUVRQRUHQWLW\LQFOXGLQJDWWRUQH\VWKDWWKHGHEWRUFRQVXOWHGDERXWGHEWFRQVROLGDWLRQRUUHVWUXFWXULQJ
       VHHNLQJEDQNUXSWF\UHOLHIRUILOLQJDEDQNUXSWF\FDVH

       1RQH
              Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                               value

              Attorney Thomas Thorup
              __________________________________________
                                                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                 05/04/2020 
                                                                                                                            BBBBBBBBBBBBBB            10,000.00
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              Address
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              228 Park Avenue S, #300
              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
              6WUHHW
              New York, NY 10003                                                                                                              
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              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
              &LW\                      6WDWH      =,3&RGH


              Email or website address
               tt@thomasmartinlaw.com
              _________________________________

              Who made the payment, if not debtor?

                                                                                                                                              
              __________________________________________


              Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                               value


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              Address                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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              Email or website address
              __________________________________________

              Who made the payment, if not debtor?

              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


 12. Self-settled trusts of which the debtor is a beneficiary
       /LVWDQ\SD\PHQWVRUWUDQVIHUVRISURSHUW\PDGHE\WKHGHEWRURUDSHUVRQDFWLQJRQEHKDOIRIWKHGHEWRUZLWKLQ\HDUVEHIRUHWKHILOLQJRIWKLVFDVHWR
       DVHOIVHWWOHGWUXVWRUVLPLODUGHYLFH
       'RQRWLQFOXGHWUDQVIHUVDOUHDG\OLVWHGRQWKLVVWDWHPHQW

      ✔ 1RQH
       
              Name of trust or device                           Describe any property transferred                           Dates transfers     Total amount or
                                                                                                                            were made           value


              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                BBBBBBBBBBBBBB        BBBBBBBBB

              Trustee                                                                                                       
                                                                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




2IILFLDO)RUP                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               SDJH5
              Case 20-02662-7              Filed 05/27/20               Entered 05/27/20 01:16:59                      Doc 1-2          Pg. 6 of 14




'HEWRU          California  International Business University
                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                          &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 1DPH




 13. Transfers not already listed on this statement
       /LVWDQ\WUDQVIHUVRIPRQH\RURWKHUSURSHUW\E\VDOHWUDGHRUDQ\RWKHUPHDQVPDGHE\WKHGHEWRURUDSHUVRQDFWLQJRQEHKDOIRIWKHGHEWRU
       ZLWKLQ\HDUVEHIRUHWKHILOLQJRIWKLVFDVHWRDQRWKHUSHUVRQRWKHUWKDQSURSHUW\WUDQVIHUUHGLQWKHRUGLQDU\FRXUVHRIEXVLQHVVRUILQDQFLDODIIDLUV
       ,QFOXGHERWKRXWULJKWWUDQVIHUVDQGWUDQVIHUVPDGHDVVHFXULW\'RQRWLQFOXGHJLIWVRUWUDQVIHUVSUHYLRXVO\OLVWHGRQWKLVVWDWHPHQW 


      ✔ 1RQH
       

              Who received transfer?                               Description of property transferred or payments received   Date transfer       Total amount or
                                                                   or debts paid in exchange                                  was made            value



        __________________________________________           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB               ________________        BBBBBBBBB

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              Address
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              6WUHHW
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              Relationship to debtor

             __________________________________________                                                                                          

       
              

       
              Who received transfer?
                                                                   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB               ________________        BBBBBBBBB
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       
              Address
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              &LW\                      6WDWH     =,3&RGH

             Relationship to debtor
             __________________________________________                                                                                          



 Part 7:          Previous Locations

 Previous addresses
      /LVWDOOSUHYLRXVDGGUHVVHVXVHGE\WKHGHEWRUZLWKLQ\HDUVEHIRUHILOLQJWKLVFDVHDQGWKHGDWHVWKHDGGUHVVHVZHUHXVHG

      ✔ 'RHVQRWDSSO\
       
             Address                                                                                              Dates of occupancy
                                                                                                                                                                    
                                                                                                                                                                    
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             6WUHHW
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              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
              &LW\                                            6WDWH        =,3&RGH


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             6WUHHW                                                                                              
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              &LW\                                            6WDWH        =,3&RGH
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2IILFLDO)RUP                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  SDJH6
              Case 20-02662-7                   Filed 05/27/20          Entered 05/27/20 01:16:59                          Doc 1-2           Pg. 7 of 14




'HEWRU             California International Business University
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                   1DPH




 Part 8:              Health Care Bankruptcies

 15. Health Care bankruptcies
      ,VWKHGHEWRUSULPDULO\HQJDJHGLQRIIHULQJVHUYLFHVDQGIDFLOLWLHVIRU
        GLDJQRVLQJRUWUHDWLQJLQMXU\GHIRUPLW\RUGLVHDVHRU
        SURYLGLQJDQ\VXUJLFDOSV\FKLDWULFGUXJWUHDWPHQWRUREVWHWULFFDUH"

      ✔ 1R*RWR3DUW
       
       <HV)LOOLQWKHLQIRUPDWLRQEHORZ
              Facility name and address                          Nature of the business operation, including type of services the             If debtor provides meals
                                                                 debtor provides                                                              and housing, number of
                                                                                                                                              patients in debtor’s care

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              )DFLOLW\QDPH
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              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
              6WUHHW                                            Location where patient records are maintained LIGLIIHUHQWIURPIDFLOLW\    How are records kept?
                                                                 DGGUHVV ,IHOHFWURQLFLGHQWLI\DQ\VHUYLFHSURYLGHU
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              &LW\                    6WDWH     =,3&RGH       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                                                               (OHFWURQLFDOO\
                                                                                                                                               3DSHU
              
              Facility name and address                          Nature of the business operation, including type of services the             If debtor provides meals
                                                                 debtor provides                                                              and housing, number of
                                                                                                                                              patients in debtor’s care

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              )DFLOLW\QDPH
                                                                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
              6WUHHW                                            Location where patient records are maintained LIGLIIHUHQWIURPIDFLOLW\    How are records kept?
                                                                 DGGUHVV ,IHOHFWURQLFLGHQWLI\DQ\VHUYLFHSURYLGHU
              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                                                                                   
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                                                                                                                                               (OHFWURQLFDOO\
                                                                                                                                               3DSHU
              
 Part 9:              Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

       1R
       ✔ <HV6WDWHWKHQDWXUHRIWKHLQIRUPDWLRQFROOHFWHGDQGUHWDLQHGBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                          Student records
                 'RHVWKHGHEWRUKDYHDSULYDF\SROLF\DERXWWKDWLQIRUPDWLRQ"
                   1R
                   ✔ <HV
                   

 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
       pension or profit-sharing plan made available by the debtor as an employee benefit?

      ✔ 1R*RWR3DUW
       
       T <HV'RHVWKHGHEWRUVHUYHDVSODQDGPLQLVWUDWRU"
                1R*RWR3DUW
                <HV)LOOLQEHORZ
                            Name of plan                                                                          Employer identification number of the plan              
                                                                                                                                                                          
                            _______________________________________________________________________               (,1BBBBBB±BBBBBBBBBBBBBBBBBBBBB

                        +DVWKHSODQEHHQWHUPLQDWHG"
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2IILFLDO)RUP                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  SDJH7
                 Case 20-02662-7                 Filed 05/27/20               Entered 05/27/20 01:16:59                   Doc 1-2          Pg. 8 of 14




'HEWRU                California International Business University
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                      1DPH




    Part 10:             Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

    18. Closed financial accounts
          :LWKLQ\HDUEHIRUHILOLQJWKLVFDVHZHUHDQ\ILQDQFLDODFFRXQWVRULQVWUXPHQWVKHOGLQWKHGHEWRU¶VQDPHRUIRUWKHGHEWRU¶VEHQHILWFORVHGVROG
          PRYHGRUWUDQVIHUUHG"
          ,QFOXGHFKHFNLQJVDYLQJVPRQH\PDUNHWRURWKHUILQDQFLDODFFRXQWVFHUWLILFDWHVRIGHSRVLWDQGVKDUHVLQEDQNVFUHGLWXQLRQV
          EURNHUDJHKRXVHVFRRSHUDWLYHVDVVRFLDWLRQVDQGRWKHUILQDQFLDOLQVWLWXWLRQV

         ✔ 1RQH
          
                 Financial institution name and address        Last 4 digits of account        Type of account             Date account was         Last balance
                                                                number                                                      closed, sold, moved,     before closing or
                                                                                                                            or transferred           transfer

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                 1DPH
                                                                                                6DYLQJV
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                                                                                                6DYLQJV
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                 &LW\                  6WDWH      =,3&RGH                                   2WKHUBBBBBBBBBBBBBB

    19. Safe deposit boxes
          /LVWDQ\VDIHGHSRVLWER[RURWKHUGHSRVLWRU\IRUVHFXULWLHVFDVKRURWKHUYDOXDEOHVWKHGHEWRUQRZKDVRUGLGKDYHZLWKLQ\HDUEHIRUHILOLQJWKLVFDVH

          1RQH
                     Depository institution name and address    Names of anyone with access to it            Description of the contents                    Does debtor
                                                                                                                                                            still have it?

                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB              1R
                 1DPH
                                                                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                                                                             <HV
                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 6WUHHW                                        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             
                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB         Address                                                                                    
                 &LW\                  6WDWH      =,3&RGH
                                                                ____________________________________

                                                                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

20. Off-premises storage
         /LVWDQ\SURSHUW\NHSWLQVWRUDJHXQLWVRUZDUHKRXVHVZLWKLQ\HDUEHIRUHILOLQJWKLVFDVH'RQRWLQFOXGHIDFLOLWLHVWKDWDUHLQDSDUWRIDEXLOGLQJLQ
         ZKLFKWKHGHEWRUGRHVEXVLQHVV

        ✔ 1RQH
                        

                     Facility name and address                  Names of anyone with access to it           Description of the contents                     Does debtor
                                                                                                                                                            still have it?
                                                                                                                                                            ✔
                                                                                                                                                            1R
                  Iron Mountain Storage
                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB        Brian Hawkins
                                                                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB         Student records (no
                                                                                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 1DPH
                                                                                                                                                            <HV
                                                                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB         monetary value)
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                 6935 Flanders Drive
                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 6WUHHW                                        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 San Diego          CA         92121
                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB            Address                                                                                 
                 &LW\                  6WDWH      =,3&RGH
                                                                P.O. Box 1942
                                                                ________________________________
                                                                Borrego Springs, CA 92004
                                                                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB



2IILFLDO)RUP                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                SDJH8
            Case 20-02662-7                   Filed 05/27/20                Entered 05/27/20 01:16:59                      Doc 1-2         Pg. 9 of 14




'HEWRU          California International Business University
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                 1DPH




 Part 11:             Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
         /LVWDQ\SURSHUW\WKDWWKHGHEWRUKROGVRUFRQWUROVWKDWDQRWKHUHQWLW\RZQV,QFOXGHDQ\SURSHUW\ERUURZHGIURPEHLQJVWRUHGIRURUKHOGLQ
         WUXVW'RQRWOLVWOHDVHGRUUHQWHGSURSHUW\

        ✔ 1RQH
         
              Owner’s name and address                             Location of the property                  Description of the property                  Value

                                                                                                                                                          BBBBBBB
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              1DPH                                                                                                                                       
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              6WUHHW                                              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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 Part 12:             Details About Environmental Information

 )RUWKHSXUSRVHRI3DUWWKHIROORZLQJGHILQLWLRQVDSSO\
  Environmental lawPHDQVDQ\VWDWXWHRUJRYHUQPHQWDOUHJXODWLRQWKDWFRQFHUQVSROOXWLRQFRQWDPLQDWLRQRUKD]DUGRXVPDWHULDO
         UHJDUGOHVVRIWKHPHGLXPDIIHFWHG DLUODQGZDWHURUDQ\RWKHUPHGLXP 
  SitePHDQVDQ\ORFDWLRQIDFLOLW\RUSURSHUW\LQFOXGLQJGLVSRVDOVLWHVWKDWWKHGHEWRUQRZRZQVRSHUDWHVRUXWLOL]HVRUWKDWWKHGHEWRU
         IRUPHUO\RZQHGRSHUDWHGRUXWLOL]HG
  Hazardous materialPHDQVDQ\WKLQJWKDWDQHQYLURQPHQWDOODZGHILQHVDVKD]DUGRXVRUWR[LFRUGHVFULEHVDVDSROOXWDQWFRQWDPLQDQW
         RUDVLPLODUO\KDUPIXOVXEVWDQFH

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 Has the debtor been a party in any judicial or administrative proceeding under any environmental law? ,QFOXGHVHWWOHPHQWVDQGRUGHUV


        ✔ 1R
         
         <HV3URYLGHGHWDLOVEHORZ
              Case title                                   Court or agency name and address                  Nature of the case                       Status of case

              _________________________________
                                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB       3HQGLQJ
              Case number                                  1DPH
                                                                                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                                                                       2QDSSHDO
              _________________________________
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                                                           6WUHHW
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 Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
         environmental law?

        ✔ 1R
         
         <HV3URYLGHGHWDLOVEHORZ
             Site name and address                         Governmental unit name and address                Environmental law, if known             Date of notice


              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB      BBBBBBBBBB
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              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
              6WUHHW                                      6WUHHW                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB      
              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
              &LW\                6WDWH     =,3&RGH     &LW\                   6WDWH     =,3&RGH




2IILFLDO)RUP                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  SDJH9
                   Case 20-02662-7               Filed 05/27/20           Entered 05/27/20 01:16:59                        Doc 1-2           Pg. 10 of 14




'HEWRU                California International Business University
                        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                          &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                       1DPH




 Has the debtor notified any governmental unit of any release of hazardous material?
          ✔ 1R
           
           <HV3URYLGHGHWDLOVEHORZ
                    Site name and address                    Governmental unit name and address               Environmental law, if known                Date of notice


                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB          BBBBBBBBBB
                    1DPH                                    1DPH
                                                                                                              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                    6WUHHW                                  6WUHHW                                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB          
                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                    &LW\               6WDWH    =,3&RGH   &LW\                6WDWH       =,3&RGH




 Part 13:                   Details About the Debtor’s Business or Connections to Any Business


 Other businesses in which the debtor has or has had an interest
           /LVWDQ\EXVLQHVVIRUZKLFKWKHGHEWRUZDVDQRZQHUSDUWQHUPHPEHURURWKHUZLVHDSHUVRQLQFRQWUROZLWKLQ\HDUVEHIRUHILOLQJWKLVFDVH
           ,QFOXGHWKLVLQIRUPDWLRQHYHQLIDOUHDG\OLVWHGLQWKH6FKHGXOHV
           ✔ 1RQH
           
               
                    Business name and address                 Describe the nature of the business                      Employer Identification number
                                                                                                                       'RQRWLQFOXGH6RFLDO6HFXULW\QXPEHURU,7,1

                                                                                                                       (,1BBBBBB±BBBBBBBBBBBBBBBBBBBBB
              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                    1DPH                                                                                              Dates business existed
                                                              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                    6WUHHW                                   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                                )URPBBBBBBB       7R BBBBBBB         
                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                    &LW\               6WDWH    =,3&RGH
                   


                    Business name and address                 Describe the nature of the business                      Employer Identification number
         
                                                                                                                       'RQRWLQFOXGH6RFLDO6HFXULW\QXPEHURU,7,1

                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           (,1BBBBBB±BBBBBBBBBBBBBBBBBBBBB
                    1DPH
                                                                                                                       Dates business existed
                                                              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                    6WUHHW                                   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                                )URPBBBBBBB       7R BBBBBBB
                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                    &LW\               6WDWH    =,3&RGH
                   

                    Business name and address                 Describe the nature of the business                      Employer Identification number
                                                                                                                       'RQRWLQFOXGH6RFLDO6HFXULW\QXPEHURU,7,1

              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           (,1BBBBBB±BBBBBBBBBBBBBBBBBBBBB
                    1DPH
                                                              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           Dates business existed
                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                    6WUHHW                                   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                                )URPBBBBBBB       7R BBBBBBB
                    &LW\               6WDWH    =,3&RGH




2IILFLDO)RUP                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   SDJH10
           Case 20-02662-7                   Filed 05/27/20           Entered 05/27/20 01:16:59                      Doc 1-2         Pg. 11 of 14




'HEWRU             California International Business University
                     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                       &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                    1DPH




  Books, records, and financial statements
      D/LVWDOODFFRXQWDQWVDQGERRNNHHSHUVZKRPDLQWDLQHGWKHGHEWRU¶VERRNVDQGUHFRUGVZLWKLQ\HDUVEHIRUHILOLQJWKLVFDVH

               1RQH
                Name and address                                                                                Dates of service

                                                                                                                        2016
                                                                                                                 )URPBBBBBBB           2020
                                                                                                                                    7R BBBBBBB
     D     Munger & Co. CPA's, attn. Rollie Munger
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                1DPH
                 5814 Van Allen Way
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                6WUHHW
                 Suite 200
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 Carlsbad                                    CA                  92008
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                &LW\                                              6WDWH                =,3&RGH


                Name and address                                                                                Dates of service

                                                                                                                 )URPBBBBBBB     7R BBBBBBB
     D    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                1DPH
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                6WUHHW
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                &LW\                                              6WDWH                =,3&RGH



      E   /LVWDOOILUPVRULQGLYLGXDOVZKRKDYHDXGLWHGFRPSLOHGRUUHYLHZHGGHEWRU¶VERRNVRIDFFRXQWDQGUHFRUGVRUSUHSDUHGDILQDQFLDO
               VWDWHPHQWZLWKLQ\HDUVEHIRUHILOLQJWKLVFDVH
               1RQH
                        Name and address                                                                        Dates of service

                                                                                                                        2016
                                                                                                                 )URPBBBBBBB           2020
                                                                                                                                    7R BBBBBBB
           E       Munger & Co. CPA's, attn. Rollie Munger
                        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                        1DPH
                         5814 Van Allen Way
                        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                        6WUHHW
                         Suite 200
                        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                         Carlsbad                                    CA                  92008
                        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                        &LW\                                           6WDWH               =,3&RGH


                        Name and address                                                                        Dates of service

                                                                                                                 )URPBBBBBBB     7R BBBBBBB
           E      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                        1DPH
                        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                        6WUHHW
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                        &LW\                                           6WDWH               =,3&RGH



      F/LVWDOOILUPVRULQGLYLGXDOVZKRZHUHLQSRVVHVVLRQRIWKHGHEWRU¶VERRNVRIDFFRXQWDQGUHFRUGVZKHQWKLVFDVHLVILOHG
               1RQH
                        Name and address                                                                        If any books of account and records are
                                                                                                                 unavailable, explain why


           F      Niels Brock Copenhagen Business College
                        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                        1DPH
                                                                                                                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                         Noerre Voldgade 34, DK-1358 Copenhagen K
                        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                        6WUHHW                                                                                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                         Attn.: Anne Hyrup Madsen, CFO
                        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                         Copenhagen                                   Denmark
                        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                        &LW\                                           6WDWH               =,3&RGH



2IILFLDO)RUP                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              SDJH11
              Case 20-02662-7               Filed 05/27/20            Entered 05/27/20 01:16:59                       Doc 1-2          Pg. 12 of 14




'HEWRU             California International Business University
                     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                        &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                    1DPH




                       Name and address                                                                         If any books of account and records are
                                                                                                                 unavailable, explain why


           F     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                       1DPH
                                                                                                                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                       6WUHHW                                                                                   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                       &LW\                                            6WDWH                  =,3&RGH



       G/LVWDOOILQDQFLDOLQVWLWXWLRQVFUHGLWRUVDQGRWKHUSDUWLHVLQFOXGLQJPHUFDQWLOHDQGWUDGHDJHQFLHVWRZKRPWKHGHEWRULVVXHGDILQDQFLDOVWDWHPHQW
            ZLWKLQ\HDUVEHIRUHILOLQJWKLVFDVH

              ✔ 1RQH
               
                       Name and address 


           G     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                       1DPH
                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                       6WUHHW
                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                       &LW\                                            6WDWH                  =,3&RGH


                       Name and address 


           G     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                       1DPH
                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                       6WUHHW
                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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                       &LW\                                            6WDWH                  =,3&RGH




  Inventories
       +DYHDQ\LQYHQWRULHVRIWKHGHEWRU¶VSURSHUW\EHHQWDNHQZLWKLQ\HDUVEHIRUHILOLQJWKLVFDVH"
 ✔ 1R
  
  <HV*LYHWKHGHWDLOVDERXWWKHWZRPRVWUHFHQWLQYHQWRULHV
 
               Name of the person who supervised the taking of the inventory                        Date of       The dollar amount and basis (cost, market, or
                                                                                                     inventory     other basis) of each inventory


               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB              BBBBBBB       BBBBBBBBBBBBBBBBBBB

               Name and address of the person who has possession of inventory records


         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
               1DPH
               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
               6WUHHW
               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
               &LW\                                                    6WDWH       =,3&RGH



               


2IILFLDO)RUP                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               SDJH12
              Case 20-02662-7              Filed 05/27/20             Entered 05/27/20 01:16:59                        Doc 1-2          Pg. 13 of 14




'HEWRU           California International Business University
                   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                       &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                  1DPH




               Name of the person who supervised the taking of the inventory                    Date of            The dollar amount and basis (cost, market, or
                                                                                                 inventory          other basis) of each inventory

               ______________________________________________________________________            BBBBBBB        BBBBBBBBBBBBBBBBBBB

               Name and address of the person who has possession of inventory records


         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
               1DPH
               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
               6WUHHW
               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
               &LW\                                                    6WDWH      =,3&RGH


 List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
       people in control of the debtor at the time of the filing of this case.
 
               Name                               Address                                               Position and nature of any             % of interest, if any
                                                                                                         interest
               Niels Brock College
               BBBBBBBBBBBBBBBBBBBBBBBBBBBB       Noerre Voldgade 34, Copenhagen, DK
                                                   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB        Member (legal entity)
                                                                                                         BBBBBBBBBBBBBBBBBBBBBBBBBBBB                   0
                                                                                                                                                 _______________

               Anya Eskildsen
               BBBBBBBBBBBBBBBBBBBBBBBBBBBB       Noerre Voldgade 34, Copenhagen, DK
                                                   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB        Chair
                                                                                                         BBBBBBBBBBBBBBBBBBBBBBBBBBBB                   0
                                                                                                                                                 _______________

               Anne Hyrup Madsen
               BBBBBBBBBBBBBBBBBBBBBBBBBBBB       Noerre Voldgade 34, Copenhagen, DK
                                                   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB        Director
                                                                                                         BBBBBBBBBBBBBBBBBBBBBBBBBBBB                   0
                                                                                                                                                 _______________

               Brian Hawkins
               BBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                    PO Box1942, Borrego Spr. CA 92004
                                                   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB         President
                                                                                                         BBBBBBBBBBBBBBBBBBBBBBBBBBBB                   0
                                                                                                                                                 _______________

               See enclosed list of
               BBBBBBBBBBBBBBBBBBBBBBBBBBBB        directors
                                                   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB        additional directors
                                                                                                         BBBBBBBBBBBBBBBBBBBBBBBBBBBB                   0
                                                                                                                                                 _______________

 Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
       of the debtor, or shareholders in control of the debtor who no longer hold these positions?
  1R
  ✔ <HV,GHQWLI\EHORZ
 
               Name                               Address                                               Position and nature of           Period during which
                                                                                                         any interest                     position or interest was
                                                                                                                                          held
                Hanne LeLoup
               BBBBBBBBBBBBBBBBBBBBBBBBBBBB       7676 Hazard Center Dr, San Diego,CA
                                                   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB        Director, 0%
                                                                                                         BBBBBBBBBBBBBBBBBBBBBB         )URPBBBBB7R
                                                                                                                                               2016      BBBBB
                                                                                                                                                          2019


               BBBBBBBBBBBBBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB        BBBBBBBBBBBBBBBBBBBBBB          )URPBBBBB7R BBBBB

               BBBBBBBBBBBBBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB        BBBBBBBBBBBBBBBBBBBBBB          )URPBBBBB7R BBBBB

               BBBBBBBBBBBBBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB        BBBBBBBBBBBBBBBBBBBBBB          )URPBBBBB7R BBBBB

  Payments, distributions, or withdrawals credited or given to insiders 
       :LWKLQ\HDUEHIRUHILOLQJWKLVFDVHGLGWKHGHEWRUSURYLGHDQLQVLGHUZLWKYDOXHLQDQ\IRUPLQFOXGLQJVDODU\RWKHUFRPSHQVDWLRQGUDZV
       ERQXVHVORDQVFUHGLWVRQORDQVVWRFNUHGHPSWLRQVDQGRSWLRQVH[HUFLVHG"
  1R
  ✔ <HV,GHQWLI\EHORZ
 
               Name and address of recipient                                            Amount of money or                   Dates              Reason for
                                                                                         description and value of                                providing the value
                                                                                         property


          Brian Hawkins
               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           Approx. $200,000
                                                                                         BBBBBBBBBBBBBBBBBBBBBBBBB           May'19-filing
                                                                                                                             _____________       Ordinary  wages
                                                                                                                                                 BBBBBBBBBBBB
               1DPH
                PO BOX 1942
               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
               6WUHHW                                                                                                       BBBBBBBBBBBBB
               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                Borrego Springs                     CA            92004
               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                               BBBBBBBBBBBBB
               &LW\                                    6WDWH          =,3&RGH

               Relationship to debtor                                                                                        BBBBBBBBBBBBB
                President
               ______________________________________________________________                                                BBBBBBBBBBBBB

2IILFLDO)RUP                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               SDJH13
           Case 20-02662-7                    Filed 05/27/20           Entered 05/27/20 01:16:59                     Doc 1-2           Pg. 14 of 14




'HEWRU            California International Business University
                   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                         &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                  1DPH




               Name and address of recipient
                                                                                             BBBBBBBBBBBBBBBBBBBBBBBBBB     BBBBBBBBBBBBB         BBBBBBBBBBBBBB

           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
               1DPH                                                                                                        BBBBBBBBBBBBB
               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
               6WUHHW                                                                                                      BBBBBBBBBBBBB
               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                              BBBBBBBBBBBBB
               &LW\                                        6WDWH     =,3&RGH


               Relationship to debtor                                                                                       BBBBBBBBBBBBB

               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB



 Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes? 
     ✔ 1R
     
      <HV,GHQWLI\EHORZ
               Name of the parent corporation                                                            Employer Identification number of the parent
                                                                                                          corporation

               ______________________________________________________________                            (,1BBBBBB±BBBBBBBBBBBBBBBBBBBBB



 Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     ✔ 1R
     
      <HV,GHQWLI\EHORZ

               Name of the pension fund                                                                  Employer Identification number of the pension fund

               ______________________________________________________________                            (,1BBBBBB±BBBBBBBBBBBBBBBBBBBBB



 Part 14:              Signature and Declaration


           WARNING%DQNUXSWF\IUDXGLVDVHULRXVFULPH0DNLQJDIDOVHVWDWHPHQWFRQFHDOLQJSURSHUW\RUREWDLQLQJPRQH\RUSURSHUW\E\IUDXGLQ
           FRQQHFWLRQZLWKDEDQNUXSWF\FDVHFDQUHVXOWLQILQHVXSWRRULPSULVRQPHQWIRUXSWR\HDUVRUERWK
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           ,KDYHH[DPLQHGWKHLQIRUPDWLRQLQWKLVStatement of Financial AffairsDQGDQ\DWWDFKPHQWVDQGKDYHDUHDVRQDEOHEHOLHIWKDWWKHLQIRUPDWLRQ
           LVWUXHDQGFRUUHFW

           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHIRUHJRLQJLVWUXHDQGFRUUHFW

                           05/19/2020
           ([HFXWHGRQ BBBBBBBBBBBBBBBBB
                             00 '' <<<<



      8     ___________________________________________________________                                Anya Eskildsen
                                                                                         3ULQWHGQDPH _________________________________________________
            6LJQDWXUHRILQGLYLGXDOVLJQLQJRQEHKDOIRIWKHGHEWRU                                       

                                                Chair
            3RVLWLRQRUUHODWLRQVKLSWRGHEWRU ____________________________________




      Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
             1R
      ✔
              <HV




2IILFLDO)RUP                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              SDJH14
